                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 1 of 12 Page ID
                                                  #:130476

             1      MARK D. SELWYN, SBN 244180
                     mark.selwyn@wilmerhale.com
             2      THOMAS G. SPRANKLING, SBN 294831
                     thomas.sprankling@wilmerhale.com
             3      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             4      2600 El Camino Real, Suite 400
                    Palo Alto, CA 94306
             5      Tel.: 650.858.6000 / Fax: 650.858.6100
             6      JOSHUA H. LERNER, SBN 220755
                      joshua.lerner@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      One Front Street, Suite 3500
                    San Francisco, CA 94111
             9      Tel.: 628.235.1000 / Fax: 628.235.1001
           10       AMY K. WIGMORE, pro hac vice
                     amy.wigmore@wilmerhale.com
           11       WILMER CUTLER PICKERING
                      HALE AND DORR LLP
           12       2100 Pennsylvania Ave NW
                    Washington, DC 20037
           13       Tel.: 202.663.6000 / Fax: 202.663.6363
           14       [Counsel appearance continues on next page]
           15       Attorneys for Defendant Apple Inc.
           16
                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,                  APPLE’S MEMORANDUM IN
                    a Delaware corporation,                       SUPPORT OF ITS MOTION IN
           21                                                     LIMINE NO. 3: EXCLUDE
                                       Plaintiffs,                IRRELEVANT AND/OR
           22                                                     INFLAMMATORY STATEMENTS
                          v.                                      ATTRIBUTED TO APPLE’S
           23                                                     EMPLOYEES
                    APPLE INC.,
           24       a California corporation,
                                                                  Date: Mar. 13, 2023
           25                          Defendant.                 Time: 1:30 pm
                                                                  Pre-Trial Conference: Mar. 13, 2023
           26                                                     Trial: Mar. 28, 2023
           27
                         REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           28        APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMATORY STATEMENTS ATTRIBUTED
                     TO APPLE EMPLOYEES
Wilmer Cutler
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 2 of 12 Page ID
                                                  #:130477

             1
             2      SARAH R. FRAZIER, pro hac vice
                     sarah.frazier@wilmerhale.com
             3      WILMER CUTLER PICKERING
                      HALE AND DORR LLP
             4      60 State Street
                    Boston, MA 02109
             5      Tel.: 617.526.6000 / Fax: 617.526.5000

             6      NORA Q.E. PASSAMANECK, pro hac vice
                     nora.passamaneck@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      1225 Seventeenth Street, Suite 2600
                    Denver, CO 80202
             9      Tel.: 720.274.3152 / Fax: 720.273.3133

           10       BRIAN A. ROSENTHAL, pro hac vice
                     brosenthal@gibsondunn.com
           11       GIBSON, DUNN & CRUTCHER LLP
                    200 Park Avenue
           12       New York, NY 10166-0193
                    Tel.: 212.351.2339 / Fax: 212.817.9539
           13       KENNETH G. PARKER, SBN 182911
           14        Ken.parker@haynesboone.com
                    HAYNES AND BOONE, LLP
           15       660 Anton Boulevard, Suite 700
                    Costa Mesa, CA 92626
           16       Tel. 650.949.3014 / Fax: 949.202.3001

           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28        APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMATORY STATEMENTS ATTRIBUTED
                     TO APPLE EMPLOYEES
Wilmer Cutler
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 3 of 12 Page ID
                                                  #:130478

             1                                         INTRODUCTION
             2            Plaintiffs’ discovery suggests that they will try to inflame and bias the jury against
             3      Apple by taking irrelevant anecdotes about Apple’s corporate culture and history out of
             4      context and by attributing a handful of irrelevant or unfairly prejudicial statements from
             5      individual employees (or former employees) to Apple as a corporate entity—e.g.,
             6      quotations attributed to Steve Jobs, political positions taken by Apple or its leadership,
             7      and an ex-employee’s statement about so-called “efficient infringement.” Since those
             8      statements are irrelevant—and would foment unfair prejudice against Apple—courts
             9      have repeatedly granted Apple’s motions in limine to exclude such references. Apple
           10       respectfully requests that this Court do the same here.
           11                                            ARGUMENT
           12             Evidence is relevant, and therefore may be admissible, if it both “has any tendency
           13       to make a fact more or less probable than it would be without the evidence,” and “the
           14       fact is of consequence in determining the action.” Fed. R. Evid. 401. “Irrelevant
           15       evidence is not admissible” for any purpose, Fed. R. Evid. 402, and even relevant
           16       evidence should be excluded “if its probative value is substantially outweighed by a
           17       danger of,” inter alia, “unfair prejudice, confusing the issues, misleading the jury, undue
           18       delay, [or] wasting time,” Fed. R. Evid. 403.
           19       I.    IRRELEVANT AND/OR INFLAMMATORY STATEMENTS ATTRIBUTED TO
           20             CURRENT AND FORMER APPLE EMPLOYEES SHOULD BE EXCLUDED
           21             A.     This Court Should Exclude Any Anecdotes About Apple’s Corporate
           22                    Culture Or History That Are Not Tied To The Facts Of This Case
           23             The Court should prohibit Plaintiffs from misrepresenting anecdotes that could,
           24       when taken out of context, suggest that Apple has a corporate culture disrespectful of
           25       intellectual property protections. For instance, Plaintiffs may seek to offer evidence
           26       about Apple’s use of a skull-and-crossbones flag and thereby suggest that Apple
           27
           28        APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                     EMPLOYEES
Wilmer Cutler
                                                                1           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 4 of 12 Page ID
                                                  #:130479

             1      “pirates” other companies’ technologies. See, e.g., Ex. 5 at 79:21-83:14 (deposing Rule
             2      30(b)(6) witness on a photograph of a pirate flag flying in front of Apple’s headquarters).
             3      Apple’s periodic, tongue-in-cheek use of a skull-and-crossbones flag and other pirate
             4      references traces back to a 1983 corporate retreat, at which Jobs reportedly said that
             5      “[i]t’s better to be a pirate than to join the navy,” as a way of suggesting that Apple
             6      should avoid becoming “too large and bureaucratic.”1 As Apple’s FRCP 30(B)(6)
             7      witness explained, Apple’s use of pirate imagery “has nothing to do with piracy or
             8      stealing ideas” and instead is meant “symbol to convey the idea that Apple’s a bit
             9      different from the rest of the herd” and “the nimbleness and agility of Apple doing things
           10       a bit differently.” Ex. 5 at 82:13-83:7.
           11                Accordingly, any pirate imagery or references are irrelevant to Apple’s corporate
           12       policies concerning intellectual property or to any other material factual dispute in this
           13       case. And even if such material is not excluded under FRE 402, the Court should still
           14       exclude it under FRE 403. Allowing Plaintiffs to associate pirate references with Apple
           15       would also be highly prejudicial, because—as Plaintiffs’ deposition questions
           16       previewed—they would use it to unfairly imply to jurors that Apple steals intellectual
           17       property from other companies. See, e.g., Ex. 5 at 82:4-11 (“Q. And you’re aware that
           18       one of the things that pirates are famous for is taking from others, right?”). It would also
           19       lead to undue delay, since Apple would have to put on rebuttal evidence to correct the
           20       misimpressions created by Plaintiffs’ prejudicial insinuations.
           21
           22
           23
           24
           25
           26       1
                      Andy Hertzfeld, “Pirate Flag,” Folklore (last visited Jan. 28, 2013), https://www.
           27       folklore.org/StoryView.py?story=Pirate_Flag.txt.
           28           APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                        EMPLOYEES
Wilmer Cutler
                                                                   2           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 5 of 12 Page ID
                                                  #:130480

             1               B.     This Court Should Exclude Any Irrelevant And/Or Inflammatory
             2                      Statements By Particular Current Or Former Apple Employees
             3                      1.    Statements About “Efficient Infringement”
             4               The Court should prohibit Plaintiffs from suggesting that Apple employs a
             5      strategy of so-called “efficient infringement” as a substitute for licensing intellectual
             6      property or developing its own technologies. Not only is that concept entirely irrelevant
             7      to the trade secret misappropriation claims in this case, but Plaintiffs have not elicited
             8      any evidence whatsoever that Apple actually employs an “efficient infringement”
             9      strategy. Nor could they, since, as Apple’s CEO Tim Cook testified to Congress, “[t]he
           10       concept of ‘efficient infringement’ is an anathema to Apple” and “not a concept or idea
           11       embraced by our company.”2
           12                The only remote link between Apple and the concept of “efficient infringement”
           13       arises from a quote given to the Economist magazine by an ex-employee. See The
           14       trouble with patent-troll-hunting, The Economist (Dec. 14, 2019) (quoting “Boris
           15       Teksler, Apple’s former patent chief”); but see Ex. 9 at 1 (“[Teksler] was never the
           16       ‘patent chief’ at Apple.”). The article does not suggest that Apple actually follows an
           17       “efficient infringement” strategy; rather, it was a general comment on the law’s
           18       supposed “overcorrection to the plague of patent trolls.” Nor is there any reason to
           19       ascribe Teksler’s comments to Apple: Teksler left the company in 2013, more than six
           20       years before the Economist article was published.3 Since 2016, Teksler has served as
           21
           22
           23
           24       2
                     Ex 9 (congressional testimony by Apple CEO Tim Cook); see also Ex. 5 at 133:18-
           25       137:22.
                    3
           26        See “Technicolor Names Boris Teksler as Head of Its Technology Business Segment,”
                    Yahoo! Finance (June 17, 2013), https://finance.yahoo.com/news/technicolor-names-
           27       boris-teksler-head-171830179.html.
           28           APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                        EMPLOYEES
Wilmer Cutler
                                                                   3           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 6 of 12 Page ID
                                                  #:130481

             1      CEO of one of the world’s largest patent assertion entities, a serial litigant against Apple
             2      and other technology companies.4
             3               A definitive, pre-trial ruling on this question is important because Plaintiffs’
             4      discovery conduct and their motion practice in front of the Special Master suggest they
             5      will likely try to bring up this concept during trial without tying it to the facts of this
             6      case. For instance, Plaintiffs propounded a request for production of “[d]ocuments
             7      regarding the practice of efficient infringement,” Ex. 1 at 3, but that request produced
             8      only seven non-privileged documents, six of which were “email newsletter[s] sent by
             9      online organizations to Apple employees via listerv” and that neither “originated within
           10       Apple” nor “contain[] any statements from any Apple employee,” see Ex. 2 ¶¶3-6.
           11       Plaintiffs also took a Rule 30(b)(6) deposition on this topic, and only elicited testimony
           12       such as “‘[e]fficient infringement’ is not a term that Apple uses. It’s not a practice at
           13       Apple.” Ex. 5 at 133:18-134:3. And although Plaintiffs sought to depose Cook on his
           14       congressional testimony, the Special Master prohibited questioning on that topic after
           15       reviewing the discovery record. See Ex. 4 at 9; Ex. 3 at 4.5
           16                In short, Plaintiffs have failed to identify any evidence from which they could lay
           17       a foundation for questions, testimony, evidence, or argument referencing “efficient
           18       infringement.” Therefore, any references to “efficient infringement” should be
           19       categorically excluded under FRE 402. Even if the Court were to conclude that the
           20       economic concept of “efficient infringement” has some minimal relevance to trade secret
           21       misappropriation, the Court should still exclude references to that concept under FRE
           22
                    4
           23         See “Boris Teksler Appointed New President and CEO of Conversant,” PR Newswire
                    (Dec. 19, 2016), https://www.prnewswire.com/news-releases/boris-teksler-appointed-
           24       new-president-and-ceo-of-conversant-607446046.html; see also, e.g., Cook Testimony
                    (noting Teksler “has gone on to work for several patent assertion entities …, sometimes
           25       referred to as patent trolls”).
                    5
           26         Apple had searched Cook’s emails and produced the only two non-privileged
                    documents that contained the phrase “efficient infringement”; one message was spam
           27       and the other contained the written questions for Cook’s congressional testimony.
           28           APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                        EMPLOYEES
Wilmer Cutler
                                                                   4           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 7 of 12 Page ID
                                                  #:130482

             1      403. References to “efficient infringement” would cause unfair prejudice to Apple and
             2      juror confusion, as it could be used to (falsely) suggest that Apple systematically
             3      infringes intellectual property rights and to encourage jurors to rely on abstract theories
             4      rather than concrete evidence pertinent to Plaintiffs’ claims.
             5                   2.     Irrelevant And Prejudicial Statements Attributed To Steve Jobs
             6            Plaintiffs should be precluded from raising several irrelevant and unfairly
             7      prejudicial quotations attributed to Steve Jobs about which they have inquired during
             8      discovery. Specifically, Plaintiffs deposed one of Apple’s Rule 30(b)(6) witnesses about
             9      a documentary interview in which Jobs discussed a visit to Xerox PARC and remarked
           10       “good artists copy, great artists steal.” See Ex. 5 at 76:17-79:20. Plaintiffs’ counsel also
           11       examined that witness about the Jobs’ statement that “[i]t’s better to be a pirate than join
           12       the Navy.” Id. at 87:2-90:21. These statements are irrelevant to the claims or defenses
           13       in this case. The former was simply Mr. Jobs parroting a quote oft-attributed to Pablo
           14       Picasso; the latter a remark he made in the 1980s to the team developing the original
           15       Macintosh computer. Neither has any relation to the accused products or issues to be
           16       tried before the jury in this case (indeed, Mr. Jobs passed away years before the relevant
           17       events in this case). Any evidence about these statements is therefore inadmissible under
           18       FRE 402. See, e.g., Pinn, Inc. v. Apple, Inc., 2021 WL 4777134, at *2-3 (C.D. Cal. July
           19       14, 2021) (excluding evidence about Jobs); Contentguard Holdings, Inc. v.
           20       Amazon.com, Inc., 2015 WL 11089490, at *5 (E.D. Tex. Sept. 4, 2015) (precluding
           21       plaintiffs from offering argument, evidence, or testimony regarding statements made by
           22       Steve Jobs to biographer Walter Isaacson or about any meetings between Apple and
           23       Xerox PARC related to mouse or graphical user interface technology).
           24             Even if Plaintiffs could articulate some minimal relevance for these statements,
           25       that evidence would still be inadmissible under FRE 403 as confusing and unduly
           26       prejudicial. Such evidence would tend to confuse the jury as to who the relevant decision
           27
           28        APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                     EMPLOYEES
Wilmer Cutler
                                                                5           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 8 of 12 Page ID
                                                  #:130483

             1      makers within Apple were during the events at issue in the case, and allowing it in would
             2      lead to undue delay, because it would require Apple to put on rebuttal evidence to
             3      contextualize the Jobs-related evidence so the jury would not be misled. Notably, in
             4      trials against Apple, courts routinely exclude under FRE 403 statements irrelevant to the
             5      claims at issue and attributed to Steve Jobs. See, e.g., Optis Wireless Technology, LLC
             6      v. Apple Inc., No. 2:19-cv-66 (E.D. Tex. July 29, 2020) ECF No. 437 at 248:20-23
             7      (precluding references to “statements long ago by Steve Jobs” that are “unrelated to the
             8      litigation”); Core Wireless Licensing S.A.R.L. v. Apple Inc., No. 15-CV-05008, Dkt. 362,
             9      slip op. at 3 (N.D. Cal. Nov. 17, 2016) (granting motion to exclude references to
           10       statements by Steve Jobs as confusing and prejudicial); In re Apple iPod iTunes Antitrust
           11       Litig., 2014 WL 12719192, at *4 (N.D. Cal. Nov. 18, 2014) (“[P]laintiffs are precluded
           12       from introducing evidence or eliciting testimony regarding Steve Jobs’s character.”);
           13       Emblaze Ltd. v. Apple Inc., No. 5:11-CV-01079, Dkt. 519 (N.D. Cal. June 18, 2014)
           14       (precluding evidence or argument regarding Steve Jobs’s character).
           15                    3.     Irrelevant And/Or Unfairly Prejudicial Statements By Dr.
           16                           Michael O’Reilly
           17             Plaintiffs should be precluded from offering evidence, testimony, or argument
           18       concerning irrelevant and/or unduly prejudicial statements by Dr. Michael O’Reilly.
           19       Questioning during Dr. O’Reilly’s deposition suggests that Plaintiffs’ counsel will try to
           20       paint Dr. O’Reilly as prejudiced by asking him about certain statements made during his
           21       employment at Apple. Those comments have no connection to this case. Plaintiffs
           22       appear to plan to use them to undermine Dr. O’Reilly’s credibility before the jury in a
           23       manner that has nothing to do with the merits of his testimony or Apple’s defenses.
           24             For instance, Plaintiffs’ counsel asked Dr. O’Reilly at his deposition about a
           25       personal note in his private journal stating that, “I[n ]M[y ]O[pinion]-F[or ]W[hat ]I[t’s ]
           26       W[orth]” “Apple may be diverse with respect to ethnicity gender and sexual orientation,
           27
           28        APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                     EMPLOYEES
Wilmer Cutler
                                                                6           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 9 of 12 Page ID
                                                  #:130484

             1      but not in what it takes to have a sense of humor.” See Ex. 7 ; see also Ex 6. Plaintiffs
             2      also examined Dr. O’Reilly about a warning letter he received from Apple concerning
             3      his “us[e of] questionable language during a meeting that was perceived by others as
             4      derogatory.” Ex. 8. As Dr. O’Reilly explained, he used a derogatory term “to describe
             5      a difficult, intractable problem. And that was inappropriate and [he] apologized for it
             6      and got this letter.” Ex. 6 at 221:19-222:20.6
             7               Plaintiffs should be precluded from offering any evidence on these irrelevant
             8      incidents or trying to elicit testimony about them. They are not relevant to Dr. O’Reilly’s
             9      work at Masimo and Apple, the purported trade secrets, or any other material disputes
           10       of fact in this case, so they are inadmissible under Rule 402.
           11                Even if there were some relevance, any probative value would be very strongly
           12       outweighed by the risk of unfair prejudice accruing to Apple, the risk of distracting the
           13       jury from the germane evidence presented by Dr. O’Reilly and others, and the undue
           14       delay that will result from Apple putting on additional evidence to address these
           15       incidents and rehabilitate Dr. O’Reilly’s credibility. Plaintiffs should therefore be
           16       precluded under Rule 403 from offering evidence about irrelevant and/or unduly
           17       prejudicial statements or conduct by Apple, Dr. O’Reilly or any other Apple employee.
           18                       4.    Media Speculation Or Political Positions Ascribed To Apple Or
           19                             Its Leadership
           20                Finally, the Court should preclude Plaintiffs from offering evidence, testimony,
           21       or argument about political positions attributed to Apple or its leadership, media reports
           22       unrelated to this litigation, and media speculation about Apple. Any such statements or
           23       information are inadmissible under FRE 402 because they are not relevant to any issue
           24       in this case: they do not make misappropriation more or less likely, have nothing to do
           25
           26       6
                      Plaintiffs have indicated that they do not intend to solicit testimony on this specific
           27       statement.
           28           APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                        EMPLOYEES
Wilmer Cutler
                                                                   7           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 10 of 12 Page ID
                                               #:130485

             1   with inventorship, and are otherwise irrelevant to any material factual dispute in this
             2   case. See, e.g., Optis Wireless Technology, LLC v. Apple Inc., No. 2:19-cv-66 (E.D.
             3   Tex. July 29, 2020) ECF 437 at 248:20-23. Such statements are also inadmissible under
             4   FRE 403 because any probative value that these statements may have would be
             5   substantially outweighed by the danger of undue prejudice to Apple and confusion of
             6   the jury they will cause at trial. Evidence regarding political positions and media
             7   speculation is regularly excluded from trials in which Apple is a party. See, e.g., Pinn,
             8   Inc., 2021 WL 4777134, at *2-3 (granting motion to exclude references to “political
             9   positions taken by Apple or its leadership”).
           10                                        CONCLUSION
           11          Apple therefore respectfully requests that this Court preclude Plaintiffs from
           12    presenting any evidence, testimony, or argument about irrelevant and/or unduly
           13    prejudicial statements attributed to Apple’s current and former employees, including but
           14    not limited to Steve Jobs and Dr. Michael O’Reilly and from referencing in any way
           15    pirates, political positions taken by Apple or its leadership, or the concept of “efficient
           16    infringement.”
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28     APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                  EMPLOYEES
Wilmer Cutler
                                                             8           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 11 of 12 Page ID
                                               #:130486

             1   Dated: February 13, 2023              Respectfully submitted,
             2
             3                                         MARK D. SELWYN
             4                                         AMY K. WIGMORE
                                                       JOSHUA H. LERNER
             5                                         SARAH R. FRAZIER
             6                                         NORA Q.E. PASSAMANECK
                                                       THOMAS G. SPRANKLING
             7                                         WILMER CUTLER PICKERING HALE AND
             8                                         DORR LLP
             9                                         BRIAN A. ROSENTHAL
           10                                          GIBSON, DUNN & CRUTCHER LLP
           11                                          KENNETH G. PARKER
           12                                          HAYNES AND BOONE, LLP
           13
           14
                                                       By: /s/ Mark D. Selwyn
           15                                              Mark D. Selwyn
           16
           17                                          Attorneys for Defendant Apple Inc.
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28    APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                 EMPLOYEES
Wilmer Cutler
                                                            9           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1301-2 Filed 02/13/23 Page 12 of 12 Page ID
                                               #:130487

             1                          CERTIFICATE OF COMPLIANCE
             2         The undersigned, counsel of record for Defendant Apple, Inc., Certifies that this
             3   brief contains 2,313 words, which:
             4         X complies with the word limit of L.R. 11-6.1.
             5            complies with the word limit set by court order dated [date].
             6
             7   Dated: February 13, 2023              Respectfully submitted,
             8
                                                       MARK D. SELWYN
             9                                         AMY K. WIGMORE
           10                                          JOSHUA H. LERNER
                                                       SARAH R. FRAZIER
           11                                          NORA Q.E. PASSAMANECK
           12                                          THOMAS G. SPRANKLING
                                                       WILMER CUTLER PICKERING HALE AND
           13                                          DORR LLP
           14
                                                       BRIAN A. ROSENTHAL
           15                                          GIBSON, DUNN & CRUTCHER LLP
           16
                                                       KENNETH G. PARKER
           17                                          HAYNES AND BOONE, LLP
           18
           19                                          By: /s/ Mark D. Selwyn
                                                           Mark D. Selwyn
           20
           21
                                                       Attorneys for Defendant Apple Inc.
           22
           23
           24
           25
           26
           27
           28    APPLE’S MOTION IN LIMINE NO. 3: IRRELEVANT AND/OR INFLAMMATORY STATEMENTS BY APPLE
                 EMPLOYEES
Wilmer Cutler
                                                           10           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
